Case 4:18-cv-00272-FHM Document 36 Filed in USDC ND/OK on 08/12/20 Page 1 of 1




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF OKLAHOMA

 WILLIE EARL CARR,
                             Plaintiff,
 vs.                                            Case No. 18-CV-272-FHM
 ANDREW SAUL,
 Commissioner of Social Security
 Administration,
                             Defendant.

                                    OPINION AND ORDER

       Plaintiff’s Motion for Attorney Fees Under the Equal Access to Justice Act, [Dkt. 22],

is before the court for decision.

       The Tenth Circuit reversed the decision of this court and affirmed the administrative

decision denying benefits. [Dkt. 33, 35] Accordingly, Plaintiff is not the prevailing party in

this case and is not entitled to an award of attorney fees under the Equal Access to Justice

Act (EAJA), 28 USC § 2412(d). Therefore, Plaintiff’s Motion for Attorney Fees Under the

Equal Access to Justice Act, [Dkt. 22], is DENIED.

       SO ORDERED this 12th day of August, 2020.
